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 8                             UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11   WISHTOYO FOUNDATION, et al.,               ) Case No.: CV 19-03322-CJC(ASx)
                                                )
12                                              )
                 Plaintiffs,                    )
13                                              )
           v.                                   )
14                                              ) JUDGMENT
                                                )
15   UNITED STATES FISH AND                     )
                                                )
     WILDLIFE SERVICE, et al.,                  )
16
                                                )
17                                              )
                 Defendants.                    )
18                                              )
                                                )
19                                              )
20

21         Plaintiffs Wishtoyo Foundation, Delia Dominguez, and the Center for Biological
22   Diversity bring this action against Defendant United States Fish and Wildlife Service and
23   Defendant-Intervenors Tejon Ranchcorp and Tejon Mountain Village, LLP. On
24   December 4, 2020, the Court granted Defendant’s and Defendant-Intervenors’ motions
25   for summary judgment.
26

27         In accordance with the Court’s Order, IT IS HEREBY ORDERED that judgment
28   is entered in favor of Defendant and Defendant-Intervenors and against Plaintiffs.

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 1   Plaintiffs shall take nothing on their complaint against Defendants and Defendant-
 2   Intervenors.
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 5      DATED: December 4, 2020
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 7
                                                HON. CORMAC J. CARNEY
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 9                                          UNITED STATES DISTRICT JUDGE
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